
1 So.3d 405 (2009)
E.A.D., a child, Appellant,
v.
STATE of Florida, Appellee.
No. 2D08-814.
District Court of Appeal of Florida, Second District.
February 11, 2009.
James Marion Moorman, Public Defender, and Terrence E. Kehoe, Special Assistant Public Defender, Bartow, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Jonathan P. Hurley, Assistant Attorney General, Tampa, for Appellee.
KELLY, Judge.
E.A.D. appeals the order adjudicating him delinquent of four counts of burglary of a conveyance. We affirm the final order in all respects except for the imposition of $115 in costs.
The disposition order requires that E.A.D. pay $115 in court costs "pursuant to F.S. 775.083(2) Crime Prevention Fund and F.S. 938.03 Crimes Compensation Trust Funds." The State correctly concedes error in that these statutes authorize the trial court to impose a total of only $100 in costs$50 pursuant to section 775.083(2), Florida Statutes (2007), which states that "court costs shall be assessed and collected in each instance a defendant... is ... adjudicated delinquent for ... a felony" and another $50 pursuant to section 938.03(1), Florida Statutes (2007), which expressly includes juveniles adjudicated delinquent for any felony or delinquent act.
*406 Accordingly, we reverse that part of the order assessing the above costs and remand for correction.
Affirmed in part, reversed in part, and remanded with instructions.
FULMER and WALLACE, JJ., Concur.
